` Case 8:21-cv-01837-VMC-JSS Document 8 Filed 10/19/21 Page 1 of 1 PageID 53



                       UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION
JACOB R. NIEVES,

              Plaintiff,
        v.                                    CASE NO.: 8:21-cv-01837-VMC-
                                              JSS
PREFERRED COLLECTION &
MANAGEMENT SERVICES, INC.,


              Defendant.
                                      /

                           JOINT NOTICE OF MEDIATION

       Pursuant to the Court’s August 11, 2021 Order, Plaintiff, James R. Nieves and

 Defendant, Preferred Collection & Management Services, Inc. hereby provide notice

 to the Court that a mediation conference before Gregory P. Holder has been

 scheduled in the above-captioned matter for December 2, 2021 at 12:30pm EST.

Dated: October 19, 2021                   Respectfully submitted,

/s/ Alexander J. Taylor                   /s/ Robert A Vigh (w/ consent)
Alexander J. Taylor, Esq.                 ROBERT A. VIGH
Florida Bar No. 1013947                   FBN: 0991902
Sulaiman Law Group, Ltd.                  SOLOMON, VIGH &
2500 S. Highland Ave, Suite 200           SPRINGER, P.A.
Lombard, IL 60148                         P.O. BOX 3275
Telephone: (630) 575-8181                 TAMPA, FL 33601-3275
Facsimile: (630) 575-8188                 (813) 229-0115
ataylor@sulaimanlaw.com                   Rvigh@svslawfirmn.com (primary)
Counsel for Plaintiff                     Robvigh@gmail.com(secondary)
                                          Counsel for Defendant




                                          1
